Case 2:04-CV-02933-BBD-STA Document 6 Filed 08/25/05 Page 1 of 2 Page|D 20

UNITED sTATEs DISTRICT coURT *"'"*‘~;-Y"-"F 4{ D‘C»
WESTERN DISTRICT OF TENNESS@§.‘AUG 25 PH 2. \-,
WESTERN DIVISIUN

 

 

WILLIAM L'YNN JOHNSON, SR. JUDGMENT IN A CIVIL CASE

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MARK LUTTRELL, et al. CASE NO; 04-2933-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED.AND ADJUDGED that in accordance'with the Order Of
Dismissal entered on. August 16, 2005, this cause is hereby
dismissed.

APPROVED :

   
   
 

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Dat Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-02933 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

William Lynn Johnson
SHELBY COUNTY JAIL
04107647

201 Poplar Ave.

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

